                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                      :
                                               :
                v.                             :       CASE NO. 21-cr-626 (PLF)
                                               :
 DEREK COOPER GUNBY,                           :
                                               :
                         Defendant.            :


    JOINT STATUS REPORT AND PROPOSED PRE-TRIAL SCHEDULING ORDER

       During an August 1, 2022 status conference in the above-captioned matter, the Court ordered

the parties to submit a joint status report with respect to a pre-trial scheduling order. The parties

have met and conferred and propose the following pre-trial schedule:

       1. The following shall be the schedule for pretrial motions:

               a. The Defendant shall file any pretrial motions on or before October 7, 2022;

               b. The Government shall file a response to the Defendant’s motions on or before

                     October 28, 2022;

               c. The Defendant shall file any reply on or before November 4, 2022.

       2.      The parties shall file any motions in limine on or before November 11, 2022;

oppositions shall be filed by November 21, 2022; and replies shall be filed by November 28, 2022.

       3.      A list of exhibits that each party intends to offer during trial shall be provided to the

Court by December 5, 2022.

       4.      Any stipulations executed or anticipated to be executed shall be provided to the Court

by December 5, 2022.

       5. Proposed jury instructions, if necessary, shall be filed by December 5, 2022.


                                                       1
       6.     Oral argument on any motions and a final pretrial conference will be held on a date

to be determined by the Court.

                                            Respectfully submitted,


        MATTHEW M. GRAVES                              /s/ John M. Pierce
        United States Attorney                         JOHN M. PIERCE
        D.C. Bar No. 481052                            John Pierce Law
                                                       2550 Oxnard Street
        /s/ Christopher D. Amore                       3rd Floor, PMB #172
                                                       Woodland Hills, CA 91367
        CHRISTOPHER D. AMORE
                                                       (213) 279-7846
        Assistant United States Attorney               jpierce@johnpiercelaw.com
        Capitol Riots Detailee
        NY Bar No. 5032883
        970 Broad Street, Suite 700
        Newark, NJ 07102
        (973) 645-2757
        Christopher.Amore@usdoj.gov




                                                   2
